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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  JUSTIN GUY, individually and on
  behalf of those similarly situated,
                                                     Case No. 20-12734
               Plaintiff,
  v.                                                 Hon. Mark A. Goldsmith

  ABSOPURE WATER COMPANY, LLC,
  a domestic limited liability company,

               Defendant.


        PLAINTIFF’S THIRD SUPPLEMENTAL INITIAL DISCLOSURES
                  PURSUANT TO FED. R. CIV. P. 26(a)(1)

         Plaintiff, Justin Guy (“Plaintiff”), by and through his counsel, and for his Third

 Supplemental initial disclosures to Defendant, Absopure Water Company, LLC

 (“Defendant”), pursuant to Fed. R. Civ. P. 26(a)(1)(A), state as follows:

 III.    26(a)(1)(A)(iii) Computation of Damages

         Defendant does not track the Drivers’ clock-in times for when they arrive at

 Defendant’s facility in the beginning of their workday. See Corp. Rep. Dep. 71:6-9.

 Additionally, Defendant does not track the Drivers’ clock-out time at the end of their

 workday. See id. 71:16-19. “[I]f the employer kept inaccurate or inadequate records,

 the plaintiff's burden of proof is relaxed and, upon satisfaction of that relaxed burden,

 the onus shifts to the employer to negate the employee's inferential damage

 estimate.” Kutzback v. LMS Intellibound, LLC, 301 F. Supp. 3d 807, 818 (W.D.
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 Tenn. 2018) citing O'Brien v. Ed Donnelly Enters., 575 F.3d 567, 602 (6th Cir. 2009)

 and Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687–88 (1946) superseded

 by statute on other grounds in Carter v. Panama Canal Co., 463 F.2d 1289 (D.C.

 Cir. 1972).

       With respect to the named Plaintiff Justin Guy, Plaintiff estimates that he

 began working at around 6:00 am to 7:00 am. See Plaintiff’s Dep. 86:12-19.

 Plaintiff estimates that on average, he stopped working 45% of the time at

 approximately 4:00 pm; 30% of the time at approximately 5:00 pm; 15% of the time

 at approximately 6:00 pm; and 10% of the time at approximately 7:00 pm. In

 addition, Plaintiff did not take uninterrupted lunch breaks of 20 minutes or more

 throughout the duration of his employment with Defendant. See id. at 40:8; 244-245.

 Moreover, when Plaintiff worked on Saturdays, which occurred on approximately

 one-half of the weekends throughout his employment, he generally stopped working

 30% of the time at approximately 12:00 pm, 40% of the time at approximately 1:00

 pm; 15% of the time at approximately 2:00 pm; and 15% of the time at

 approximately 3:00 pm.

       According to Defendants’ pay records, the total compensation Plaintiff

 received throughout the duration of his employment is $60,683.07, less any

 applicable PTO and/or Holiday pay.           This amount includes $40,561.10 of

 compensation attributed to “Regular” or “Day-Rate” pay. Because Plaintiff’ Day-



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 Rate compensation was $120/day, the total number of days Plaintiff worked for

 Defendant is 338 workdays ($40,561.10/$120 = 338.001).

       According to Plaintiff’s pay records, Plaintiff worked approximately 62

 workweeks for Defendant. Since Plaintiff estimates working approximately one-

 half of the weekends, it is estimated that he worked 31 weekend days. Thus, Plaintiff

 is estimated to have worked 307.01 workweek days (338.01 - 31). Based on these

 estimates derived from the information and data previously produced, as well as

 deposition testimony, Plaintiff calculates his damages as follows:




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       Accordingly, Plaintiff’s estimated his unpaid wage damages are $8,000.56

 and estimated total unpaid wage and liquidated damages are $16,001.12. The

 remainder of Plaintiff’s damages as set forth in his complaint, which includes his

 attorneys’ fees and costs, are ongoing and will be supplemented in due course.

       With respect to the Opt-in Plaintiffs, a chart is attached as Exhibit A that

 provides their respective estimated average time that they began working each

 workday, and estimated average time that they stopped working each workday. With

 respect to Plaintiff Terry Pemberton, Mr. Pemberton’s schedule varied each workday

 based on, inter alia, overnight travel on certain workdays. Accordingly, Mr.

 Pemberton did not have a consistent average estimated start time or end time each

 workday. Mr. Pemberton estimates that he worked 47 hours each workweek. The

 damages estimate for these Plaintiffs will be supplemented upon receipt of all

 outstanding pay records, and records reflecting their days worked.


                                          Respectfully submitted,
 Dated: July 27, 2023
                                          /s/Michael N. Hanna
                                          Michael N. Hanna (P81462)
                                          MORGAN & MORGAN, P.A
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                                          Southfield, MI 48075
                                          (313) 251-1399
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                                          Attorneys for Plaintiff




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                               PROOF OF SERVICE

       The undersigned certifies that on July 27, 2023, the foregoing document was
 served electronically upon all attorneys of record.

                                                /s/ Michael N. Hanna, Esq.
                                               Michael N. Hanna, Esq.




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Last Name     First Name   Hire Date     Termination Date     Estimated Start Time   Estimated End Time   Estimated Start Time on Weekends   Estimated End Time on Weekends   Lunch Breaks of 20 Min or More   Were the Lunch Breaks Interrupted?
Aniol         John          11/8/1999            3/29/2022          6:00 AM               6:30 PM                     6:00 AM                            1-6 p                            Never                                Y
Armstead      Aaron         5/14/2018            9/21/2018          6:00 AM               5:30 PM                     6:00 AM                           1:00 PM                           Rarely                               Y
Armstead      Dwane         6/11/2018            10/4/2018          6:00 AM               7:15 PM                       No                                No                               No                                  Y
Banks         Erick         4/23/2018            8/31/2018          6:00 AM               4:00 PM                     8:00 AM                           2:00 PM                            No                                  Y
Belonga       Lucas          5/2/2022           12/31/9999          6:30 AM               2:30 PM                     6:30 AM                           12:30 PM                          Never                                Y
Brown         Keith          9/5/2006             7/1/2020          7:00 AM               6:30 PM                     7:00 AM                           1:00 PM                           2x/wk                                Y
Childs        Dannielle     12/5/2019           12/31/9999          6:00 AM               2:00 PM                     6:15 AM                           11:00 AM                          Never                                Y
Clendennin    Ryan          7/25/2017             7/6/2018          6:00 AM               6:30 PM                     6:00 AM                           5:00 PM                           Never                                Y
Fish          Caleb         4/30/2018           12/31/9999          5:00 AM               5:30 PM                     4:30 AM                           12:00 PM                          Never                                Y
Guy           Justin        9/24/2018             2/4/2020          6:30 AM               5:30 PM                     7:30 AM                            12:30                            Never                                Y
Householder   Boaz           3/7/2022            4/22/2022          5:30 AM           4:30 (7:30 2x/wk)               6:00 AM                           2:00 PM                           Never                                Y
Jacek         Shawn        10/15/2018           11/27/2018          6:45 AM               6:45 PM                     6:45 AM                           5:00 PM                         Sometimes                              Y
Johnson Jr    Gary          1/31/2022            3/31/2023          6:30-7 A              6:00 PM                     6:30-7 A                          1:00 PM
Lammer        Ricardo        4/8/2019            10/3/2019          5:00 AM               4-5 PM                      3:00 AM                           12:00 PM                          Never                                Y
Perry         Charles       7/11/2016            10/5/2018          7:00 AM                7-8 P                      7:00 AM                            3-4 P
Phipps        Kevin         9/11/2017            8/16/2021          5:45 AM                4-5 P                      8:00 AM                           1:00 PM                           Never                                Y
Redmer        Nathan        5/23/2022            11/3/2022           6-7 A                7:00 PM                      6-7 A                             12-1 P                           Never                                Y
Rhodes        Ryan           6/20/2022           12/31/9999         6:00 AM              5:30-6 PM                    6:00 AM                            1-2 PM                           Never                                Y
Sujkowski     David          2/1/2021            3/10/2022          7:15 AM               5:15 PM                     6:00 AM                           1:00 PM                           Never                                Y
Tampa         Jordan        8/26/2019             1/4/2022          7:30 AM               7:00 PM                     7:30 AM                           2:00 PM                           Never                                Y
Winconek      Kyle          1/25/2021             7/6/2022          6:00 AM               4:00 PM                     6:00 AM                           12:30 PM                          Never                                Y
Woldt         George       12/19/2022             2/2/2023          6:45 AM               8:00 PM                     6:45 AM                           3:00 PM                           Never                                Y
